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 5
                            IN THE UNITED STATES DISTRICT COURT
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                          FOR THE EASTERN DISTRICT OF CALIFORNIA
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 8
      UNITED STATES OF AMERICA,                  )    CASE NO. 1:09-cr-00142 LJO
 9                                               )
                                Plaintiff,       )    ORDER TO DISMISS INDICTMENT
10                                               )
      v.                                         )
11                                               )
      LOUISE Q. BOOTH,                           )
12                                               )
                                Defendant.       )
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              Upon motion of the United States, and for good cause showing,
15
              IT IS HEREBY ORDERED that the Indictment in the above-entitled
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     case against LOUISE Q. BOOTH be DISMISSED in the interests of
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     justice.
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20   IT IS SO ORDERED.
21   Dated:     March 1, 2012                    /s/ Lawrence J. O'Neill
     b9ed48                                  UNITED STATES DISTRICT JUDGE
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